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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )               CASE NO. 8:06CR61
                                              )
              Plaintiff,                      )
                                              )                MEMORANDUM
              vs.                             )                 AND ORDER
                                              )
ARMANDO RODRIGUEZ,                            )
                                              )
              Defendant.                      )

       This matter is before the Court on the joint appeal (Filing No. 103) from the

Magistrate Judge’s order (Filing No. 102) denying the Defendant’s motion to continue trial.

       Pursuant to 28 U.S.C. § 636(b)(1)(A) and NECrimR 57.2, the Court has reviewed

the order from which this appeal has been taken. In an appeal from a magistrate judge's

order on a pretrial matter within 28 U.S.C. § 636(b)(1)(A), a district court may set aside any

part of the magistrate judge's order shown to be clearly erroneous or contrary to law. 28

U.S.C. § 636(b)(1)(A); NECrimR 57.2(c).

       The Court has carefully considered the matter, and Judge Gossett’s order is not

clearly erroneous or contrary to law. Moreover, the Court concurs with the reasoning of

Magistrate Judge Gossett in his denial of the motion to continue the trial. Therefore, the

appeal is denied.

       IT IS ORDERED:

       1.     The joint appeal from the Magistrate Judge’s Order (Filing No. 103) is denied;

and
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       2.      The Magistrate Judge’s Order denying a continuance of trial (Filing No. 102)

is affirmed.

       DATED this 23rd day of June, 2006.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge
